Case 0:21-cr-60039-AHS Document 43 Entered on FLSD Docket 09/22/2021 Page 1 of 2


                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA,
            Plaintiff,                                    CASE NO.:         21-CR-60039-AHS-2

 v.
                                                          DEFENDANT’S UNOPPOSED MOTION
 CLEON KIRLEW,                                            TO CONTINUE TRIAL AND EXTEND
            Defendants.                                   DEADLINES

       COMES NOW Defendant, CLEON KIRLEW, by and through his undersigned counsel and

respectfully moves this Court to order a continuance of his imminent jury trial and an extension of court-

imposed deadlines, and as grounds therefor states as follows:

       1)      The Defendant is charged with I) Conspiracy to Commit Sex Trafficking, and II) Sex

Trafficking of a Minor. He was indicted on July 6, 2021.

       2)      Each count carries a potential life sentence, and Count II has a 15-year minimum

mandatory sentence.

       3)      This Court on August 24, 2021, entered an order setting this matter for trial during the two-

week period beginning October 12, 2021. The order also addressed deadlines for motions in limine or to

schedule a guilty plea.

       4)      For the second time, the Defendant seeks to continue his trial date and associated deadlines.

Co-defendant Shanteria Barnes, who was indicted several months before the Defendant, has scheduled a

Change of Plea hearing for October 5, 2021, a week before the Defendant’s trial. The circumstances

surrounding her eventual plea will likely dictate this Defendant’s litigation plans.

       5)      The defense requests a 30-60 day continuance to allow the Barnes matter to wind down,

and for the defense to have continued, meaningful plea negotiations with the Government. The ends of

justice served by such a continuance outweigh the Defendant’s and the public’s interests in a speedy trial.

       6)      The undersigned conferred with A.U.S.A. Brooke Latta and Manuel Gonzalez Jr., attorney

for Barnes, and neither objects to the continuance sought herein.

 SHEMTOV & HILLSTROM pllc   612 Southeast Fifth Avenue, Suite 4   Fort Lauderdale, Florida 33301   954/329-2222
Case 0:21-cr-60039-AHS Document 43 Entered on FLSD Docket 09/22/2021 Page 2 of 2


       WHEREFORE, Defendant CLEON KIRLEW respectfully prays that this Court continue this

matter to a Calendar Call setting in or after November 2021, and extend this Court’s pleading deadlines

accordingly.

                                                       Respectfully submitted,

                                                       /s/ Carter T. Hillstrom
                                                       CARTER T. HILLSTROM
                                                       Attorney for the Defendant
                                                       Florida Bar # 26211
                                                       Shemtov & Hillstrom, PLLC
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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the instant motion is not made for unnecessary delay, and that a true

and correct copy of the foregoing was served by the CM/ECF system on all counsel or parties of record.

                                                       /s/ Carter T. Hillstrom
                                                       CARTER T. HILLSTROM




                                                     -2-
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